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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                       )
CALIFORNIA, COLORADO,                           )
CONNECTICUT, DELAWARE, DISTRICT                 )
OF COLUMBIA, FLORIDA, GEORGIA,                  )
HAWAII, ILLINOIS, INDIANA, IOWA,                )
LOUISIANA, MARYLAND,                            )   Case No. 5:15-cv-6264-EGS
MASSACHUSETTS, MICHIGAN,                        )
MINNESOTA, MONTANA, NEVADA, NEW                 )
JERSEY, NEW MEXICO, NEW YORK,                   )
NORTH CAROLINA, OKLAHOMA, RHODE                 )
ISLAND, TENNESSEE, TEXAS, VIRGINIA,             )
WISCONSIN                                       )
                                                )
Ex rel. CATHLEEN FORNEY                         )
                                                )
                              Plaintiffs,       )
                                                )
       vs.                                      )
                                                )
MEDTRONIC, INC.,
                                                )
                              Defendant.        )
                                                )

                                 NOTICE OF APPEARANCE

       Kindly entry the appearance of Ronni E. Fuchs on behalf of Defendant Medtronic, Inc. in

the above-captioned matter.

                                                Respectfully,

                                                /s/ Ronni E. Fuchs
                                                Ronni E. Fuchs (PA Bar No. 65561 )
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                                                3000 Two Logan Square
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                                                Philadelphia, PA 19103
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Dated: April 6, 2017                            Attorneys for Medtronic, Inc.
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                               CERTIFICATE OF SERVICE

       The foregoing document was filed electronically on April 6, 2017 and is available for

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(“ECF”) system. The foregoing document will be sent electronically via the ECF system to the

registered participants as identified on the Notice of Electronic Filing, including the Plaintiff

States per the Court’s order of December 23, 2016 (Dkt. No. 14). I certify that on April 6, 2017,

in addition to the Notice of Electronic Case Filing automatically generated by the ECF system, I

caused the foregoing document to be served via email upon the following:

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       Baltimore, MD 21217
       sburke@burkepllc.com




                                                 /s/ Katherine M. Glaser
                                                 Katherine M. Glaser
